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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK
------------------------------------------------------
Riseboro Community Partnership Inc.
                                                               INITIAL CONFERENCE ORDER




Plaintiff(s),
                                                                2018     -CV- 7261 ( RJD ) (VMS)
-against-

SunAmerica Housing Fund No. 682



Defendant(s)
---------------------------------------------------------
                                               3:30
         An Initial Conference will be held at ____________           ✔ p.m. on
                                                            ___ a.m. ___
2/20/2019
______________________ before Magistrate Judge Vera M. Scanlon in the United States Courthouse,

Courtroom $6RXWK, 225 Cadman Plaza East, Brooklyn, New York 11201.

         Attorneys for all parties are directed to appear for the conference in person. If a party is not

represented by counsel, the pro se party must appear. Counsel for Plaintiff(s) is requested to confirm

with counsel for Defendant(s) that all necessary participants are aware of this conference.

         In the event an answer or other response to the complaint has not yet been filed by the time this

Order is received, counsel for Plaintiff(s) is to notify counsel for Defendant(s) or the pro se

Defendant(s) of this conference as soon as an answer or other response is filed. Counsel for Plaintiff(s)

is to notify the Chambers of Magistrate Judge Scanlon by letter filed on the Court’s ECF system three

business days before the scheduled conference if an answer or other response still has not been filed.

         Requests for adjournments will not be considered unless made at least forty-eight (48) hours

before the scheduled conference except in the event of an emergency.



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         Prior to the initial conference, counsel (or if any party is unrepresented, the party) are to

comply with Federal Rule of Civil Procedure 26(f). Counsel shall meet and confer at least five

business days before the initial conference to discuss the matters specified in FRCP 26. Counsel shall

also discuss (1) the scope of any anticipated electronic discovery, the preservation of electronically

stored data, and the cost of locating, maintaining and producing that data, and (2) whether any party

will rely upon expert testimony, and if so, the proposed schedule for expert discovery. Together,

counsel shall complete the attached scheduling order and bring with them to the initial conference a

copy for the Court.

         At the initial conference, counsel shall be fully prepared to discuss this action and any issues

relating to the case, including jurisdiction, venue, John/Jane Doe parties, schedules for discovery and

for trial, and settlement. Only counsel with knowledge of the case should attend the conference; per

diem counsel should not appear. All individual attorneys who plan to appear at a conference are to file

a notice of appearance on the ECF system before the conference.

         All cases with counsel have been assigned to the Court’s Electronic Case Filing Program. The

parties shall file all future submissions electronically. It is the responsibility of the parties to monitor

regularly the status of their cases to avoid missing deadlines and court appearances. Counsel are

obliged to update the Court’s records with any change of contact information so that they will receive

all Court notices.

SO ORDERED.

Dated:          Brooklyn, New York
                 12/21/2018


                                                                        /s/
                                                             VERA M. SCANLON
                                                        UNITED STATES MAGISTRATE JUDGE



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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK
------------------------------------------------------
 Riseboro Community Partnership Inc.
                                                               INITIAL SCHEDULING ORDER




Plaintiff(s),
                                                               2018     -CV- 7261        ( RJD ) (VMS)
-against-
 SunAmerica Housing Fund No. 682




Defendant(s)
---------------------------------------------------------


Upon consent of the appearing parties and their counsel, it is hereby ORDERED as follows:

1)       Defendant(s) shall answer or otherwise move with respect to the complaint by

         ____________________.

2)       Automatic disclosures required by Rule 26(a)(1) of the Federal Rules of Civil Procedure must

         be completed by ______________, if not yet completed.

3)       Initial document requests and interrogatories will be served no later than _________________.

         If the parties intend to issue interrogatories, they will serve no more than ______

         interrogatories. The parties are aware that the presumptive cap on the number of

         interrogatories is 25, including subparts.

4)       No additional parties may be joined after ______________. By this date, the parties may either

         stipulate to the addition of new parties or commence motion practice for joinder in accordance

         with the Individual Rules of the District Judge assigned to this case.

5)       No amendment of the pleadings will be permitted after ________________ unless information

         unknown to the parties by this date later becomes available to them. By this date, the parties
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      may either stipulate to the amendments of the pleadings or commence motion practice for leave

      to amend the pleadings in accordance with the Individual Rules of the District Judge assigned

      to this case.

6)    Fact discovery closes ___________________.

      Note: Treating physicians who may be called as witnesses, including as expert witnesses,
      should generally provide their reports or summaries and be deposed during the fact discovery
      period.

7)    As to expert disclosures,

      a)      The names, qualifications and area(s) of expertise of initial experts shall be served on or

      before __________________.

      b)      Initial expert witness reports shall be served on or before _________________.

      c)      Rebuttal expert witness reports shall be served on or before _______________.

8)    All discovery, including any depositions of experts, shall be completed on or before

      _________________.

      (Generally, this date must be no later than 9 months after the initial conference.)

9)    On or before ______________, the parties must file on ECF a joint letter confirming that

      discovery is concluded.

10)   Any dispositive motion practice must be commenced by ______________, within 30 days of

      the close of all discovery.

      Parties must consult the Individual Rules of the District Judge assigned to this case to
      determine, inter alia, if a pre-motion conference letter is required before a dispositive motion is
      filed, whether a Local Rule 56.1 statement must be submitted with the motion and whether
      such a motion must be “bundled.”

11)   A proposed joint pre-trial order must be filed (or if required by the District Judge, a scheduling
      date must be requested) by _________________, within 60 days of the close of fact discovery.

      This date is not stayed during any dispositive motion practice unless ordered by the District
      Judge assigned to this case or permitted by the District Judge’s Individual Rules.



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12)   Do the parties consent to trial before a magistrate judge pursuant to 28 U.S.C. § 636(c)?

      a)      No _________ Do NOT indicate which party has declined to consent.

      b)      Yes _________

              If yes, fill out the AO 85 (Rev. 01/09) Notice, Consent, and Reference of a Civil Action
              to a Magistrate Judge Form and file it on the Court’s ECF system. See
              http://www.uscourts.gov/FormsAndFees/Forms/CourtFormsByCategory.aspx

13)   A discovery status telephone conference/an in-person Status Conference is set for

      __________________ at ___________ ____a.m. ___ p.m. If a telephone conference is

      scheduled, the conference call will be arranged and initiated by Plaintiff or Defendant (circle

      one) to Chambers at 718 613 2300. A joint discovery status letter must be filed on ECF by

      _______________ in preparation for the conference. The Court will schedule these dates.

14)   A final pre-trial conference is set for _____________________. The Court will schedule this

      date.

15)   The parties may wish to engage in settlement discussions. To facilitate this process, Plaintiff(s)

      agree(s) to make a demand on or before ____________, and Defendant(s) agree(s) to respond

      to the demand on or before _____________.

      After the parties have exchanged a demand and response, the Parties may request a settlement
      conference by filing on ECF a letter that requests a conference and informs the Court of at
      least three dates when all counsel and all parties with decision-making authority (including, if
      necessary, insurance representatives) are available for an in-person conference. The parties
      will be required to submit an ex parte settlement statement letter a week before the conference.

16)   Any additional matters:




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       This scheduling order may be altered or amended only upon a showing of good cause

based on circumstances not foreseeable as of the date hereof.

Dated: Brooklyn, New York




                                           ______________________________________
                                                       VERA M. SCANLON
                                           UNITED STATES MAGISTRATE JUDGE

CONSENTED TO BY COUNSEL:


Signature:_____________________
Name:
Attorney for Plaintiff(s)
Address:
E-mail:
Tel.:
Fax:

Signature:_____________________

Name:
Attorney for Defendant(s)
Address:
E-mail:
Tel.:
Fax:

(Additional counsel should provide the same information.)




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